












Dismissed and Memorandum Opinion filed December 16, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00863-CV

____________

&nbsp;

AMIRALI Y. VIRANI, Appellant

&nbsp;

V.

&nbsp;

REILLY EDWARD SCHUELER, Appellee

&nbsp;



&nbsp;

On Appeal from the County Civil Court at Law No. 2

Harris County, Texas

Trial Court Cause No. 925688

&nbsp;



&nbsp;

MEMORANDUM
&nbsp;OPINION

This appeal is from a judgment signed June 25, 2010.&nbsp; No
clerk’s record has been filed.&nbsp; The clerk responsible for preparing the record
in this appeal informed the court appellant did not make arrangements to pay
for the record.&nbsp; 

On October 29, 2010, notification was transmitted to all
parties of the court’s intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex. R. App.
P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Yates and Jamison.

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